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               Exhibit B
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subsequently put forth an interpretation of any Request that differs from that being used by

Netflix for these responses.

                         SPECIFIC OBJECTIONS AND RESPONSES

       Netflix expressly incorporates the above General Objections as though set forth fully in

response to each of the following Requests. In addition to those General Objections, Netflix also

makes the following Specific Objections to each Request for Production:

REQUEST FOR PRODUCTION NO. 1:

       All Documents relating to any Communication between You and Facebook relating to

Facebook Watch, except for any Documents that were shared with or communicated to

Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topic. Netflix further objects to the demand for “all documents relating to any Communication”

as overly broad, seeking information that is not relevant or proportional to the needs of the case,

unduly burdensome, and vague and ambiguous. Netflix further objects to this Request to the

extent it calls for the production of any documents protected by the attorney-client privilege, the

work product doctrine or any other applicable privilege from disclosure. Netflix further objects

to this Request to the extent it calls for the production of any documents that are or that reveal

confidential, proprietary, trade secret, third party, or competitively sensitive information. Netflix

further objects to this Request to the extent it calls for the production of documents no longer



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relevant or subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt. No. 214.)

Netflix further objects to this Request as premature to the extent it is relevant (if at all) only to

the First Amended Consolidated Advertiser Class Action Complaint, which Meta has moved to

dismiss (Dkt. No. 262). Netflix further objects to this Request to the extent it calls for the

production of documents equally available from other sources, including the public domain or

the parties to the above-captioned case.

REQUEST FOR PRODUCTION NO. 2:

        All internal Communications relating to any Communication between You and Facebook

relating to Facebook Watch.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

        Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning

the specified topic. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to this Request to the extent it calls for the production of any documents protected

by the attorney-client privilege, the work product doctrine or any other applicable privilege from

disclosure. Netflix further objects to this Request to the extent it calls for the production of any

documents that are or that reveal confidential, proprietary, trade secret, third party, or

competitively sensitive information. Netflix further objects to this Request to the extent it calls

for the production of documents no longer relevant or subject to discovery in light of the Court’s



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motion to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request as premature to

the extent it is relevant (if at all) only to the First Amended Consolidated Advertiser Class Action

Complaint, which Meta has moved to dismiss (Dkt. No. 262). Netflix further objects to this

Request to the extent that it is duplicative of Request for Production No. 1.

REQUEST FOR PRODUCTION NO. 3:

       All Documents relating to any Communication between You and Facebook relating to the

use or sharing of data with Facebook, except for any Documents that were shared with or

communicated to Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix further objects to the demand for “all documents relating to any Communication”

as overly broad, unduly burdensome, and vague and ambiguous. Netflix objects to “relating to

the use or sharing of data with Facebook” as overly broad, seeking information that is not

relevant or proportional to the needs of the case, unduly burdensome, and vague and ambiguous.

Netflix further objects to this Request to the extent it calls for the production of any documents

protected by the attorney-client privilege, the work product doctrine or any other applicable

privilege from disclosure. Netflix further objects to this Request to the extent it calls for the

production of any documents that are or that reveal confidential, proprietary, trade secret, third

party, or competitively sensitive information. Netflix further objects to this Request to the extent

it calls for the production of documents no longer relevant or subject to discovery in light of the



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Court’s motion to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request as

premature to the extent it is relevant (if at all) only to the First Amended Consolidated Advertiser

Class Action Complaint, which Meta has moved to dismiss (Dkt. No. 262). Netflix further

objects to this Request to the extent it calls for the production of documents equally available

from other sources, including the public domain or the parties to the above-captioned case.

REQUEST FOR PRODUCTION NO. 4:

       All internal Communications relating to any Communication between You and Facebook

relating to the use or sharing of data with Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning

the specified topics. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to “relating to the use or sharing of data with Facebook” as overly broad, seeking

information that is not relevant or proportional to the needs of the case, unduly burdensome, and

vague and ambiguous. Netflix further objects to this Request to the extent it calls for the

production of any documents protected by the attorney-client privilege, the work product

doctrine or any other applicable privilege from disclosure. Netflix further objects to this Request

to the extent it calls for the production of any documents that are or that reveal confidential,

proprietary, trade secret, third party, or competitively sensitive information. Netflix further



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objects to this Request to the extent it calls for the production of documents no longer relevant or

subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt. No. 214.) Netflix

further objects to this Request as premature to the extent it is relevant (if at all) only to the First

Amended Consolidated Advertiser Class Action Complaint, which Meta has moved to dismiss

(Dkt. No. 262). Netflix further objects to this Request to the extent that it is duplicative of

Request for Production No. 3.

REQUEST FOR PRODUCTION NO. 5:

        All Documents relating to any Communication between You and Facebook relating to

Your use of Facebook Application Programming Interfaces or Facebook User Data, except for

any Documents that were shared with or communicated to Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

        Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix further objects to the demand for “all documents relating to any Communication”

as overly broad, seeking information that is not relevant or proportional to the needs of the case,

unduly burdensome, and vague and ambiguous. Netflix further objects to “relating to Your use of

Facebook Application Programming Interfaces or Facebook User Data” as overly broad, seeking

information that is not relevant or proportional to the needs of the case, unduly burdensome, and

vague and ambiguous. Netflix further objects to this Request to the extent it calls for the

production of any documents protected by the attorney-client privilege, the work product

doctrine or any other applicable privilege from disclosure. Netflix further objects to this Request



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to the extent it calls for the production of any documents that are or that reveal confidential,

proprietary, trade secret, third party, or competitively sensitive information. Netflix further

objects to this Request to the extent it calls for the production of documents no longer relevant or

subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt. No. 214.) Netflix

further objects to this Request as premature to the extent it is relevant (if at all) only to the First

Amended Consolidated Advertiser Class Action Complaint, which Meta has moved to dismiss

(Dkt. No. 262). Netflix further objects to this Request to the extent it calls for the production of

documents equally available from other sources, including the public domain or the parties to the

above-captioned case.

REQUEST FOR PRODUCTION NO. 6:

        All internal Communications relating to any Communication between You and Facebook

relating to Your use of Facebook Application Programming Interfaces or Facebook User Data.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

        Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning

the specified topics. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to “relating to Your use of Facebook Application Programming Interfaces or

Facebook User Data” as overly broad, seeking information that is not relevant or proportional to

the needs of the case, unduly burdensome, and vague and ambiguous. Netflix further objects to



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this Request to the extent it calls for the production of any documents protected by the attorney-

client privilege, the work product doctrine or any other applicable privilege from disclosure.

Netflix further objects to this Request to the extent it calls for the production of any documents

that are or that reveal confidential, proprietary, trade secret, third party, or competitively

sensitive information. Netflix further objects to this Request to the extent it calls for the

production of documents no longer relevant or subject to discovery in light of the Court’s motion

to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request as premature to the

extent it is relevant (if at all) only to the First Amended Consolidated Advertiser Class Action

Complaint, which Meta has moved to dismiss (Dkt. No. 262). Netflix further objects to this

Request to the extent that it is duplicative of Request for Production No. 5.

REQUEST FOR PRODUCTION NO. 7:

       All Agreements between You and Facebook relating to the Facebook Developer

Platform, Facebook Application Programming Interfaces, advertising, advertising measurement,

the exchange or access to data, analytics, content creation, or online video streaming.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Agreements” concerning the specified

topics. Netflix further objects to the demand for “all Agreements relating to . . . advertising,

advertising measurement, the exchange or access to data, analytics, content creation, or online

video streaming” as overly broad, seeking information that is not relevant or proportional to the

needs of the case, unduly burdensome, and vague and ambiguous. Netflix further objects to this



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Request to the extent it calls for the production of any documents protected by the attorney-client

privilege, the work product doctrine or any other applicable privilege from disclosure. Netflix

further objects to this Request to the extent it calls for the production of any documents that are

or that reveal confidential, proprietary, trade secret, third party, or competitively sensitive

information. Netflix further objects to this Request to the extent it calls for the production of

documents equally available from other sources, including the public domain or the parties to the

above-captioned case. Netflix further objects to this Request to the extent it calls for the

production of documents no longer relevant or subject to discovery in light of the Court’s motion

to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request as premature to the

extent it is relevant (if at all) only to the First Amended Consolidated Advertiser Class Action

Complaint, which Meta has moved to dismiss (Dkt. No. 262).

REQUEST FOR PRODUCTION NO. 8:

       All Documents relating to any Communication between You and Facebook relating to the

Agreements recited in Request No. 7, except for any Documents that were shared with or

communicated to Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix further objects to the demand for “all Documents relating to any Communication”

as overly broad, seeking information that is not relevant or proportional to the needs of the case,

unduly burdensome, and vague and ambiguous. Netflix further objects to the demand for “all



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Documents relating to any Communication” relating to any agreement “relating to . . .

advertising, advertising measurement, the exchange or access to data, analytics, content creation,

or online video streaming” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to this Request to the extent it calls for the production of any documents protected

by the attorney-client privilege, the work product doctrine or any other applicable privilege from

disclosure. Netflix further objects to this Request to the extent it calls for the production of any

documents that are or that reveal confidential, proprietary, trade secret, third party, or

competitively sensitive information. Netflix further objects to this Request to the extent it calls

for the production of documents equally available from other sources, including the public

domain or the parties to the above-captioned case. Netflix further objects to this Request to the

extent it calls for the production of documents no longer relevant or subject to discovery in light

of the Court’s motion to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request

as premature to the extent it is relevant (if at all) only to the First Amended Consolidated

Advertiser Class Action Complaint, which Meta has moved to dismiss (Dkt. No. 262).

REQUEST FOR PRODUCTION NO. 9:

       All internal Communications relating to any Communication between You and Facebook

relating to the Agreements recited in Request No. 7.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning



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the specified topics. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to the demand for “all internal Communications relating to any Communication”

relating to any agreement “relating to . . . advertising, advertising measurement, the exchange or

access to data, analytics, content creation, or online video streaming” as overly broad, seeking

information that is not relevant or proportional to the needs of the case, unduly burdensome, and

vague and ambiguous. Netflix further objects to this Request to the extent it calls for the

production of any documents protected by the attorney-client privilege, the work product

doctrine or any other applicable privilege from disclosure. Netflix further objects to this Request

to the extent it calls for the production of any documents that are or that reveal confidential,

proprietary, trade secret, third party, or competitively sensitive information. Netflix further

objects to this Request to the extent it calls for the production of documents equally available

from other sources, including the public domain or the parties to the above-captioned case.

Netflix further objects to this Request to the extent it calls for the production of documents no

longer relevant or subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt.

No. 214.) Netflix further objects to this Request as premature to the extent it is relevant (if at all)

only to the First Amended Consolidated Advertiser Class Action Complaint, which Meta has

moved to dismiss (Dkt. No. 262). Netflix further objects to this Request to the extent that it is

duplicative of Request for Production No. 8.

REQUEST FOR PRODUCTION NO. 10:

       All Documents relating to any Communication between You and Facebook relating to the

quality of, price of, or Your decision to purchase targeted advertising on Facebook, except for



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any Documents that were shared with or communicated to Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix further objects to the demand for “all documents relating to any Communication”

as overly broad, seeking information that is not relevant or proportional to the needs of the case,

unduly burdensome, and vague and ambiguous. Netflix further objects to the term “targeted

advertising on Facebook” as vague and ambiguous. Netflix further objects to this Request to the

extent it calls for the production of any documents protected by the attorney-client privilege, the

work product doctrine or any other applicable privilege from disclosure. Netflix further objects

to this Request to the extent it calls for the production of any documents that are or that reveal

confidential, proprietary, trade secret, third party, or competitively sensitive information. Netflix

further objects to this Request to the extent it calls for the production of documents equally

available from other sources, including the public domain or the parties to the above-captioned

case. Netflix further objects to this Request to the extent it calls for the production of documents

no longer relevant or subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt.

No. 214.) Netflix further objects to this Request as premature to the extent it is relevant (if at all)

only to the First Amended Consolidated Advertiser Class Action Complaint, which Meta has

moved to dismiss (Dkt. No. 262).




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REQUEST FOR PRODUCTION NO. 11:

       All internal Communications relating to any Communication between You and Facebook

relating to the quality of, price of, or Your decision to purchase targeted advertising on

Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning

the specified topics. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to the term “targeted advertising on Facebook” as vague and ambiguous. Netflix

further objects to this Request to the extent it calls for the production of any documents protected

by the attorney-client privilege, the work product doctrine or any other applicable privilege from

disclosure. Netflix further objects to this Request to the extent it calls for the production of any

documents that are or that reveal confidential, proprietary, trade secret, third party, or

competitively sensitive information. Netflix further objects to this Request to the extent it calls

for the production of documents equally available from other sources, including the public

domain or the parties to the above-captioned case. Netflix further objects to this Request to the

extent it calls for the production of documents no longer relevant or subject to discovery in light

of the Court’s motion to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request

as premature to the extent it is relevant (if at all) only to the First Amended Consolidated



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Advertiser Class Action Complaint, which Meta has moved to dismiss (Dkt. No. 262). Netflix

further objects to this Request to the extent that it is duplicative of Request for Production No.

10.

REQUEST FOR PRODUCTION NO. 12:

       All Documents relating to any Communication between You and Facebook relating to

Reed Hastings’s role as a member of Facebook's Board of Directors, except for any Documents

that were shared with or communicated to Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix further objects to the demand for “all Documents relating to any Communication”

as overly broad, seeking information that is not relevant or proportional to the needs of the case,

unduly burdensome, and vague and ambiguous. Netflix further objects to the term “between You

and Facebook” as vague and ambiguous. Netflix further objects to this Request to the extent it

calls for the production of any documents protected by the attorney-client privilege, the work

product doctrine or any other applicable privilege from disclosure. Netflix further objects to this

Request to the extent it calls for the production of any documents that are or that reveal

confidential, proprietary, trade secret, third party, or competitively sensitive information. Netflix

further objects to this Request to the extent it calls for the production of documents equally

available from other sources, including the public domain or the parties to the above-captioned

case. Netflix further objects to this Request to the extent it calls for the production of documents



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no longer relevant or subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt.

No. 214.) Netflix further objects to this Request as premature to the extent it is relevant (if at all)

only to the First Amended Consolidated Advertiser Class Action Complaint, which Meta has

moved to dismiss (Dkt. No. 262).

REQUEST FOR PRODUCTION NO. 13:

       All internal Communications relating to any Communication between You and Facebook

relating to Reed Hastings’s role as a member of Facebook's Board of Directors.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning

the specified topics. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix

further objects to the term “between You and Facebook” as vague and ambiguous. Netflix

further objects to this Request to the extent it calls for the production of any documents protected

by the attorney-client privilege, the work product doctrine or any other applicable privilege from

disclosure. Netflix further objects to this Request to the extent it calls for the production of any

documents that are or that reveal confidential, proprietary, trade secret, third party, or

competitively sensitive information. Netflix further objects to this Request to the extent it calls

for the production of documents equally available from other sources, including the public

domain or the parties to the above-captioned case. Netflix further objects to this Request to the



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extent it calls for the production of documents no longer relevant or subject to discovery in light

of the Court’s motion to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request

as premature to the extent it is relevant (if at all) only to the First Amended Consolidated

Advertiser Class Action Complaint, which Meta has moved to dismiss (Dkt. No. 262). Netflix

further objects to this Request to the extent that it is duplicative of Request for Production No.

12.

REQUEST FOR PRODUCTION NO. 14:

       All Documents relating to any Communication between Reed Hastings and any Facebook

employee, officer, or director related to competition in online video streaming and original

content creation, advertising on Facebook, collection or exchange of data, or Your business

relationship or Agreements with Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix objects to the demand for “all Documents relating to any Communication” as

overly broad, seeking information that is not relevant or proportional to the needs of the case,

unduly burdensome, and vague and ambiguous. Netflix objects to the terms “related to

competition in online video streaming and original content creation, advertising on Facebook,

collection or exchange of data, or Your business relationship or Agreements with Facebook” as

vague and ambiguous. Netflix further objects to this Request to the extent it calls for the

production of any documents protected by the attorney-client privilege, the work product



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doctrine or any other applicable privilege from disclosure. Netflix further objects to this Request

to the extent it calls for the production of any documents that are or that reveal confidential,

proprietary, trade secret, third party, or competitively sensitive information. Netflix further

objects to this Request to the extent it calls for the production of documents equally available

from other sources, including the public domain or the parties to the above-captioned case.

Netflix further objects to this Request to the extent it calls for the production of documents no

longer relevant or subject to discovery in light of the Court’s motion to dismiss opinion. (Dkt.

No. 214.) Netflix further objects to this Request as premature to the extent it is relevant (if at all)

only to the First Amended Consolidated Advertiser Class Action Complaint, which Meta has

moved to dismiss (Dkt. No. 262).

REQUEST FOR PRODUCTION NO. 15:

       All internal Communications relating to any Communication between Reed Hastings and

any Facebook employee, officer, or director related to competition in online video streaming and

original content creation, advertising on Facebook, collection or exchange of data, or Your

business relationship or Agreements with Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a

nonparty and because it calls for the production of “[a]ll internal Communications” concerning

the specified topics. Netflix further objects to the demand for “all internal Communications

relating to any Communication” as overly broad, seeking information that is not relevant or

proportional to the needs of the case, unduly burdensome, and vague and ambiguous. Netflix



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further objects to the terms “related to competition in online video streaming and original content

creation, advertising on Facebook, collection or exchange of data, or Your business relationship

or Agreements with Facebook” as vague and ambiguous. Netflix further objects to this Request

to the extent it calls for the production of any documents protected by the attorney-client

privilege, the work product doctrine or any other applicable privilege from disclosure. Netflix

further objects to this Request to the extent it calls for the production of any documents that are

or that reveal confidential, proprietary, trade secret, third party, or competitively sensitive

information. Netflix further objects to this Request to the extent it calls for the production of

documents equally available from other sources, including the public domain or the parties to the

above-captioned case. Netflix further objects to this Request to the extent it calls for the

production of documents no longer relevant or subject to discovery in light of the Court’s motion

to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request as premature to the

extent it is relevant (if at all) only to the First Amended Consolidated Advertiser Class Action

Complaint, which Meta has moved to dismiss (Dkt. No. 262). Netflix further objects to this

Request to the extent that it is duplicative of Request for Production No. 14.

REQUEST FOR PRODUCTION NO. 16:

       All Documents produced or in any other way provided to the United States Department

of Justice, Federal Trade Commission, United States Senate, United States House of

Representatives, or any other federal, state, or foreign governmental entity relating to Facebook.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       Netflix incorporates its General Objections. In addition to its General Objections, Netflix

objects to this Request as unduly burdensome, overbroad and seeking information that is not

relevant or proportional to the needs of the case, including because of Netflix’s status as a



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nonparty and because it calls for the production of “[a]ll Documents” concerning the specified

topics. Netflix further objects to this Request to the extent it calls for the production of any

documents protected by the attorney-client privilege, the work product doctrine or any other

applicable privilege from disclosure. Netflix further objects to this Request to the extent it calls

for the production of any documents that are or that reveal confidential, proprietary, trade secret,

third party, or competitively sensitive information. Netflix further objects to this Request to the

extent Netflix’s compliance would chill incentives to cooperate voluntarily with future

governmental investigations. Netflix further objects to this Request to the extent it calls for the

production of documents no longer relevant or subject to discovery in light of the Court’s motion

to dismiss opinion. (Dkt. No. 214.) Netflix further objects to this Request as premature to the

extent it is relevant (if at all) only to the First Amended Consolidated Advertiser Class Action

Complaint, which Meta has moved to dismiss (Dkt. No. 262).



 Dated: June 9, 2022                                WILSON SONSINI GOODRICH & ROSATI
                                                    Professional Corporation

                                                    By: /s/Justina Sessions
                                                        Justina Sessions

                                                         One Market Plaza
                                                         Spear Tower, Suite 3300
                                                         San Francisco, CA 94105
                                                         T: (415) 947-2197
                                                         F: (415) 947-2099
                                                         jsessions@wsgr.com

                                                    Counsel for Nonparty Netflix Inc.




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